         Case 1:20-cv-01142-JMF Document 108 Filed 08/31/20 Page 1 of 1
                                          U.S. Department of Justice
[Type text]
                                                        United States Attorney
                                                        Southern District of New York
                                                        86 Chambers Street
                                                        New York, New York 10007
                                                        August 31, 2020
By ECF
The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007
       Re:     New York v. Chad F. Wolf, et al., No. 20 Civ. 1127 (JMF) (S.D.N.Y.)
               Lewis-McCoy, et al. v. Chad Wolf, et al., No. 20 Civ. 1142 (JMF) (S.D.N.Y.)
Dear Judge Furman:
         This Office represents the defendants in the above-referenced actions. In connection with
plaintiffs’ pending motions for summary judgment, we write respectfully to advise the Court that
counsel for the U.S. Department of Homeland Security (“DHS”) has informed this Office that U.S.
Customs and Border Protection (“CBP”) is continuing to evaluate the means by which it can obtain
DMV information in order to vet all Trusted Traveler Program applicants, including from state
and territorial governments, third parties, or applicants themselves. We are not certain that this
continuing evaluation by CBP is directly pertinent to the Court’s determination of the motions
pending in this case, but in the overall context of this litigation we believe this is information the
Court should be aware of. Should the Court desire any further information the Government would
be pleased to comply.

                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     Acting United States Attorney for the
                                                     Southern District of New York

                                               By:       /s/ Zachary Bannon
                                                     ZACHARY BANNON
                                                     ELIZABETH KIM
                                                     CHRISTOPHER CONNOLLY
                                                     Assistant United States Attorneys
                                                     86 Chambers St. 3rd Floor
                                                     New York, New York 10007
                                                     Tel.: 212-637-2728, 2745, 2761
                                                     Fax:     212-637-2717
                                                     E-mail: Zachary.Bannon@usdoj.gov
                                                              Elizabeth.Kim@usdoj.gov
                                                              Christopher.Connolly@usdoj.gov
